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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 LUFKIN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §      CASE NO. 9:12-CR-6(6)
                                                 §
MATTIE ALABAMA EMERSON                           §

                           MEMORANDUM ORDER
              ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                        ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

Before the United States Magistrate Judge [Doc. #99]. The magistrate judge recommended that the

Court accept the defendant’s guilty plea and conditionally accept the plea agreement. He further

recommended that the Court finally adjudge the defendant as guilty on Count 5 of the charging

Indictment filed against the defendant in this cause.

       The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea [Doc. #99] of the United States Magistrate

Judge are ADOPTED. The Court defers acceptance of the plea agreement until after review of the

presentence report.

       It is further ORDERED that, in accordance with the defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the defendant, Mattie Alabama Emerson, is hereby



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adjudged as guilty on Count 5 of the charging Indictment charging violations of Title 21, United

States Code, Section 841(c)(1) and (c)(2).

        So ORDERED and SIGNED this 30 day of April, 2012.




                                                    ___________________________________
                                                    Ron Clark, United States District Judge




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